
I dissent, not based on the adequacy of the damages awarded by the trier of fact, but based on the majority's reversal of the Court of Civil Appeals' decision to consider Moebes's allegations of error on the part of the trial court. The majority bases its ruling on the proposition that "a party who prevailed in the trial court can appeal only on the issue of adequacy of the damages awarded." 709 So.2d at 478.
However, I believe that when the trial court's alleged errors are properly preserved, the prevailing party should not be prevented from seeking appellate review of those alleged errors. To summarily refuse to consider a party's allegations of error, simply because that party prevailed at trial, is patently unfair and disregards the notion that this Court should seek the uniform application of the laws of this state.
BUTTS, J., concurs.